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UNlTED STATES BANKRUPTCY COURT
SOUTHERN DISTR|CT OF FLOR|DA
www.flsb.uscourts.gov

ln re:
Kenda|l Lake Towers
Condomlnium Associatlon, lnc. Case 16-12114-RAM

Debtor / Ch 11

BALLOT AND DEADL|NE FOR F|L|NG BALLOT ACCEPT|NG OR REJECT|NG PLAN

TO HAVE YOUR VOTE COUNT YOU MUST COMFLETE AND RETURN THIS
BALLOT BY THE DEADL/NE (AS SET PURSUANT TO LOCAL RULE 3018-1)
NOVEMBER 29, 2018

The plan filed by Debtor can be confirmed by the court end thereby made binding on you if il is accepted by
the holders of two-thirds in amount and more than one-half in number of claims in each class and the
holders of two-thirds in amount of equity security interests in each class voting on the plan. ln the event the
requisite acceptances are not obtained. the court may nevertheless confirm the plan if the court finds that
the plan accords fair and equitable treatment to the class rejecting ll.

Creditor.' 0 i él,/'W g -€(‘/(r£/(L for the

following type of‘claim placed in the indicated class in the indicated amount.'

 

 

 

 

 

TYFE OF CLAIM CLASS IN PLAN AMOUNT OF CLA/M
Secured $
Unsecured t ga $ //) §[C/Y
Equity Security Holder

 

 

 

 

The undersigned [Ch-. »' _ _ Rejects

  

Prlnt Nam'

Address: M)(ge l §§ you/ar f 6 /
§Q§;“_e qs‘/~‘ie 7»7550 "”' 5 C ’
/;. 20 13
F|LE TH|S BALLOT ON OR BEFORE NOVE|V'IBER 29, 2018

with: Office of the Clerk C. C|yde Atkins United States Courthouse 301 North
Miami Avenue, Room 150 Miami, FL 33128

and JOEL ARESTY aresty@icloud.com

lf you have more than one type of clalm against this debtor, separate ballots must
be filed and you should recelve a ballot for each type of claim eligible to vote.
Contact the plan proponent regardlng lncorrect or lnsufficient ballot(s).

